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                                                                                                             DEC 2 0 2018             n'
R„is«i03™6WDNY                          UNITED STATES DISTRICT COURT                             \^!:£iop.«              ,rw
                                       WESTERN DISTRICT OF NEW YORK


                                 FORM TO BE USED IN FILING A COMPLAINT
                                UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983
                                          (Prisoner Complaint Form)

All material filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further information.

                                                  1. CAPTION OF ACTION                            1 8 C)f $ 0$^ C3^                    c



A.        Full Name And Prisoner Number of Plaintiff: NOTE; ifmore than one plaintifffiles this action and seeks informa
pauperis status, each plaintiff must submit an in forma pauperis application and a signed Authorization or the only plaintiff to be
considered will be theplaintiffwhofiled an application and Authorization.

1.                   T>AgLiA                                wyoto^s
2.
                                                              -VS-

B.      FuU Name(s) of Defendant(s) NOTE: PursuanttoFed.R.Civ.P. lO(a). the names ofallpartiesmust appear in thecaption.
The court may notconsider a claim against anyone not identified in thissection as a defendant. Ifyou have more than six defendants,
vou maycontinuethis section on another sheet ofpaper ifyou indicate below that you havedone so.
1.   MttVicL                                                             4.
2.                        L~ck^(x\jJ^                                    5.    AL^W\-e-uv>'        k         "Z—
3.    ^                                                                  6.    ^Civ\d\ra.     X>ryor


                                           2. STATEMENT OF JURISDICTION


This is a civil action seekingrelief and/or damages to defend and protect the rights guaranteed by the Constitution of the
United States. This action is broughtpursuantto 42 U.S.C. § 1983. The Court hasjurisdictionover the action pursuant to
28 U.S.C. §§ 1331,1343(3) and (4), and 2201.


                                                3. PARTIES TO THIS ACTION

PLAINTIFF'S INFORMATION NOTE: To list additional plaintiffs, use this format on another sheet of paper.

Name and Prisoner Number ofPlaintiff:                        V-d'ix^A.            v lYR ^        1^30/0'^^
Present Place ofConfinement &Address:                     /4ll-ev\\A/pn/ji .     U-,
  3000 .         WU'rV-^^                   .      PA


Name and Prisoner Number ofPlaintiff:
Present Place of Confinement & Address:
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 DEFENDANT'S INFORMATION NOTE: To provide information about more defendants than there is roomfor here, use this
format on another sheet ofpaper.

 Name of Defendant;                 PemSfe. Trocii-e.
 (If applicable) Official Position of Defend^t:
 (Ifapplicable) Defendant is Sued in ^ Individual and/or                  ^Official Capacity
 Address ofDefendant: 5 /b A                                             . VAOckpstev-                     Vd>rk


 Name ofDefendant: ^er^^ ^ Z-Ar'^gye.
 (Ifapplicable) Official Position ofDefendant:      O^fc-etT              .
 (Ifapplicable) Defendant is Sued in      i/^ Individual ^for \/ Official Capacity
 Address ofDefendant:                                A'V-t „ '. g/
                                       A/.y>               ^ov '1^ ^xrcUg^vy                      ^
Name ofDefendant:         —^ t^5>orv         lAiu^Wwv
(If applicable) Official Position ofDefendyit:          O-^'r.-ejr
(Ifapplicable) Defendant isSued in        V/ Individual                       Official Capacity
Address ofDefendant: )S^O 5v '\P( ia                      A\S-^* \or                                  f^VV^o



                           4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT


A.      Have you begun any other lawsuits instate or federal courtdealing with thesame facts involved in this action?
                 Yes         No V

If Yes, complete the next section. NOTE: Ifyou have brought more than one lawsuit dealing with the samefacts as this
action, use thisformat to describe the other action(s) on another sheet ofpaper.
1.      Name(s) of the parties to this other lawsuit:
        Plaintiff(s):
        Defendant(s):_


        Court (if federal court, name the district; if state court, name the county):


3.      Docket or Index Number:

4.      Name of Judge to whom case was assigned:_
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DEFENDANT'S INFORMATION

Name Of Defendant:

(If Applicable) Official Position Of Defendant: !^u-e5i~i^.-?47)<r
(If Applicable) Defendant Is Sued In (Vf Individual Capacity ^^50r
                                                    (V)^fficial Capacity
Address of Defendant: ]'yO                  f£xc\Aai^p_
 ^\vc\ ' .    fixUie                            ^                    //»*/»
 /           ?9 Ey<^Ia^<w,
DEFENDANT'S INFORMATION

Name Of Defendant:        M.a"("lV\-e-tA>   ScUu/nir^
(if Applicable) Official Position Of Defendant:                               /h ^
(if Applicable) Defendant Is Sued In (t^ Individual Capacity ^nd/br
                                                    (\y{ Official Capacity
Address Of Defendant r ^"7 ^ov<>W\                   ^i'b2J/\u<^U   Sf.
             Nio\H


DEFENDANT'S INFORMATION

Name Of Defendant:         'Sn.i^A\ra
(if Applicable)        Official Position of Defendant: l>r9V>rIcY
(if Applicable) Defendant Is Sued In                    Individual Capacity (^^/Or
                                                    (\/)^Official Capacity
Address Of Defendant:          ^7
     K/V.
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DEFENDANT'S INFORMATION

Name Of    pedant:        ccU^^-V-e^      \pc\ Tc:     V-f
(If Applicable) Official Position Of Defendant:
(If Applicable) Defendant Is Sued In (vTlndividual Capacity
                                                     ( vf Official Capacity
Address of Defendant: 15^0       5.
                  $a-4-p-\"U                X                 .—jU,y,—/
                               N Z                                     —
DEFENDANT'S INFORMATION

Name Of Defendant:

(If Applicable) Official Position Of Defendant:
(If Applicable) Defendant Is Sued In ( ) Individual Capacity And/Or
                                                     ( ) Officia.1 Capacity

Address Of Defendant:




DEFENDANT'S INFORMATION

Name Of Defendant:

(if Applicable)     Official Position of Defendant:
(If Applicable) Defendant Is Sued In ( ) Individual Capacity And/Or
                                                     ( ) Official Capacity

Address Of Defendant:




                                 •7. V.
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 5.     The approximate date the action was filed:_
 6.     What was the disposition of the case?
                Is it still pending? Yes       No
                          If not, give the approximate date it was resolved.
                Disposition (checkthe statementswhich apply):
                     Dismissed (check the boxwhich indicates whyit was dismissed);
                                  By court sua sponte as frivolous, maliciousor for failing to state a claim
                                  upon which relief can be granted;
                                  By court for failure to exhaust administrative remedies;
                                  By court for failure to prosecute, pay filing fee or otherwise respond to a court
                                  order;

                                  By court due to your volimtary withdrawal of claim;
                     Judgment upon motion or after trial entered for
                               plaintiff
                               defendant.


B.      Have you begun any other lawsuits in federal court which relate to your imprisonment?
               Yes             No \f
If Yes, complete the next section. NOTE: Ifyou have brought more than one other lawsuit dealing withyour imprisonment,
use this same format to describe the other actionfs) on another sheet ofpaper.

1.     Name(s) of the parties to this other lawsuit:
               Plaintiff(s):


               Defendant(s):


2.     District Court:

3.     Docket Number:

4.     Name of District or Magistrate Judge to whom case was assigned:


5.     The approximate date the action was filed:.
6.     What was the disposition of the case?
               Is it still pending? Yes       No
                         If not, give the approximate date it was resolved..
               Case 6:18-cv-06932-CJS-MJP Document 1 Filed 12/20/18 Page 6 of 16



                  Disposition (check the statements which apply):
                       Dismissed (check the box which indicates why it was dismissed):
                                   By courtsua sponte as frivolous, malicious or for failing to state a claim
                                   upon which relief can be granted;
                                   By court for failure to exhaust administrative remedies;
                                   By court for failure to prosecute, pay filing fee or otherwise respond to a court
                                   order;

                                   By court due to your voluntary withdrawal of claim;
                       Judgment upon motion or after trial entered for
                                 plaintiff
                                 defendant.




                                                  5. STATEMENT OF CLAIM

For your information, the followingis a list of someof the most frequently raised groundsfor relief in proceedings under 42
U.S.C. § 1983. (This list does not include all possible claims.)

                 • Religion                   • Access to the Courts        • Search & Seizure
                 • Free Speech               Cjalse^ArTeiT]^                • Malicious Prosecution
               ^^Due ProcesTO                 •Excessive Force              •Denial ofMedical Treatment
                 • Equal Protection           • Failure to Protect          • Right to Counsel

Please note that it is not enough tojust list the ground(s)for your action. You must include a statementof the facts which
you believesupport each of your claims. In otherwords, tell the storyof what happened to you but do not use legaljargon.

Fed.R.Civ.P. 8(a) states that a pleading must contain "a short and plain statement of the claim showingthat the pleader is
entitled to relief." "The function of pleadings underthe Federal Rules is to givefair notice of the claimasserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application ofres judicata, and identify
the nature of the case so it may be assigned the proper form of trial." Sinomons v. Abruzzo, 49 F.3d 83,86 (2d Cir. 1995).
Fed.R.Civ.P. 10(b) states that "[a]ll averments of claim... shall be made in numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances."


                                             Exhaustion of Administrative Remedies


Note that according to 42 U.S.C. § 1997e(a),"[n]o action shall be brought with respect to prison conditions under section
1983 of this title,or any other Federal law,by a prisoner confinedin anyjail, prison,or othercorrectional facilityuntilsuch
administrative remedies as are available are exhausted."


You must provide information about the extentof your efforts to grieve, appeal, or otherwise exhaust your administrative
remedies, and you must attach copies of any decisions or other documents which indicate that you have exhausted your
remedies for each claim you assert in this action.
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 A. FIRST CLAIM; On (date ofthe incident)                                   IH . ^OlD.                                         ,.^2.0 .2cio^
 defendant (give the name and position held of each defendant involved in this incident)
 ^xtoA-p\ rCfeff;r-eAA L~c^<K\je. , O^urftAr \ 3"                                                                   UjC^AiA •
 did thefollowing to me (briefly state what eachdefendant named above did):                                 "fb
 I/V\rtv\ iz-faz-jViisr-P. -fill's^.                                      U3e       a^d<.riA^        m-P.     iJd CVtv^\y\cK (
 y)rDr..fireA\\A^ . wIaiU, 4h-e                                     wa^              4iiP^
 5-iayS . n^A                 u/WA-P. \\Ae.
 iv\v^^vA<f\\V^> r,tL\|)a<s'fKA . sa.\<^                                     ei/ul-e^\c-e                   jksv^          U5£A
  ^                        vwe-               iaalA         HWv^W . 'TU-e.
               i\A     cc>v\ c.eA . avaA               a\A^.A         a>aA        ^V>eM'-pA                                     i
 Jo wl^aVevypV- WAS vV(>r:-P<;St-uri^ ^lauAul n^r i/voV . "U ^ava^-P
Theconstitutional basis for this claim under 42 U.S.C. § 1983 is: aaA HZ. iX-^'C. ^                                    ^
\h,->\(^\o^/\ fk T)uJ^ \Pxrsc^sS CUa6e. ^:-GVu                              Fck-kAp^jj^                                   •
The reliefIam seeking for this claim is (briefly state the reliefsought): ^^<».A.5;gcfn-rL^ Avvj^                 \^u<a \A> vf^
 J/»(AA       . Alnvx^A'ATvA y>av^.^^^/cV                             "Kw\^               Llii                            A
 A-fy>r    Aaxrp.^S       gyvlcV                       av\au\<;U >
                            Exhaustion of Your Administrative Remedies for this Claim;

Did you grieve or appeal this claim?           Yes \X No Ifyes, what was the result?
                                                      y:
Did you appeal that decision?           Yes       ^ No Ifyes, what was the result?

                     Attach copies ofany documents that indicate that you have exhaustedthis claim.
Ifyou did not exhaust your administrative remedies, state why you did not do so: AAAev )oe'\w^ A-eA^iAgA
u/i-WAog-V V)cuV             5>"e.veA. (7^                 , -Hie               \^L\s,   AiAallu^ Y'•r-(>S,PAA>.A           Ao
 A/oAfi< *»                            kg*? V>e.P-vv                            Ok^ AAcAUen'                       ^(A^-exr.

A. SECOND CLAIM; On(date of the incident)                  rSA.v\u<sLv"iA                       .
defendant (give the name and position held of each defendant involved in this incident)
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              e-^.                                                                                                          —
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did the following to me (briefly state what each defendant named above did):                        u/Wv l-e.           CL(^{
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  AW>                    viAA .            "TVocU-e > 1A-PvAz-ftP-A                      iM.-p           g*;^ ~fi\-P i(?ev"^QtA "Rvtch ^iig\" Ktvw,
The constitutional basis for this claim under 42 U.S.C. § 1983 is;                  Pu-p,                Vz-cxc-p^s -                     A-Ha
  (" S            /I                                       eex:H\ (JH'^                                                         U^
The reliefIam seeking for this claim is (briefly state the reliefsought): ^oy>«.y-e-i/istcro«~M                                     a.^A
           lAiv-ft.       f^AiA/^ACkP-*; .      RA/^.A-^Av"kA              \pt^vA^i/w-e-s/::V            fiiT        AUe.. ~\'\tM-e.
 m          vtvV^ .        g^kA         ^\r       (j vA>r-P<;>S'^    <av\A         yvvP><\<\\.                          V'iyV^ *
                                  Exhaustion of Your Administrative Remedies for this Claim;

Did you grieve orappeal this claim?                   Yes            No If yes, what was theresult?


Didyou appeal that decision?                  Yes        V No If yes, what was the result?


                           Attach copies ofanydocuments thatindicate thatyou have exhausted this claim.
Ifyou did not exhaust your administrative remedies, state why you did not do so:                                           \p-e,\v\ {\ A-gd^^meA
 w>4lA0tA                         V           5e.\/€vv^ ^"7^ y^vs • Ake ck^a^t^y-                                    was A-('iAt^
 Mote ' "lU'vS                 5ec^oiA Wc<.^ \)-eev\ <rovdiwu.tA                                   a<Aotae-                        ot                    .
If you have additional claims, use the above format and set them out on additional sheets of paper.

                                                           6. RELIEF SOUGHT

                               Summarize thereliefrequested byyou in eachstatement of claimabove.
  ^          \A/<Ai/tr        Co^^Aipe,v\Sc^i~5v^ U tV^vd             \pu-iA.v
 \|9ajla                                              "tivw-p         Sip-P-^                               —a.                           StLJC
  Au'/'Pss             aiAA           vwevcV^^            ixw^u^vsU, *


Do you want a jury trial? Yes ^        y   No
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             A\A..eA. '


h. 5£60MD                         r.LATM


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              Case 6:18-cv-06932-CJS-MJP Document 1 Filed 12/20/18 Page 13 of 16



I declare under penalty of perjury that the foregoing is true and correct.
Executed on                   iH
                                      (date)
NOTE: Each plaintiffmustsign this complaint and mustalso sign all subsequentpapers filed with the Court.
                                                        —'D-ert.i/v


                                               /
                                                             Signature(s) of Plaintiff(s)
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JS44 (Rev. 06/17)
                                                                                                                                                               18 CV 6932 cys
                                                                                   CIVIL COVER SHEET
                                  leinformation
Tbe JS 44 civil cover sheet and the infonnation contained herem
                                                          herein neither rwlace
                                                                         rei    nor supplement the filing and service ofpleadings orother papers asrequired bylaw, except as
provided by local rules of court Thisform, approved bytheJudicial Confmnce oftheUnited States inSeptember 1974, is required fortheuseof theCledc of Court forthe
purpose of initiating the civil docket sheet. (SEEINSTRUCTIONS ONNEXTPAGE OFTHIS FORM.)
I. (a) PLAINTIFFS                                                                                                        DEFENDANTS A(a\rUv                                            TvocWt,                                     -


    (b) County of Residence of First Listed Plaintiff                                                                    County ofResidence ofFirst Listed Defendant                    A( p r
                                 (EXCEPTIN U.S. PLAINTIFF CASES)                                                                                 (IN U.S.PLAINTIFF CASESONLY)
                                                                                                                         NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                     THE TRACT OF LAND INVOLVED.                X

    (c) Axuameys (Firm Name, Address, and Telephone Number)                               ^                   n.          Attorneys (!(/'Xhotvnj                                                                \


         U.S.                                                                                                                                                                ,                             •        •

      wu:W.
II. BASIS OF JURISDICTIONfP/occon "X"inOneBoxOnly)                                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an"X" tnOne BoxforPlaintiff
                                                                                                                     (ForDiversity CasesOnly)                                          - on^fine Boxfor Dffendant)
• 1 U.S. Government                      ^3 Federal Question                                                                                   PTF      DEF                                                     PTF       DEF
          Plaintiff                               (U.S. GovernmentNot a ParQt)                                 Citizenof ThisState             0 1       O     1 Incorporated or Principal Place                    0 4      0 4
                                                                                                                                                                       of Business In This State

•   2   U.S. Govcmment                   • 4    Diversi^                                                       Citizenof AnotherState          0 2       O 2       Incorporated oni/Principal Place                 0 5      0 5
          Defendant                               (Indicate Gitenship of Parties in Item III)                                                                          ofBusiness In Another State

                                                                                                               Citizenor Subjectof a           0 3       O     3   Foreign Nation                                   O 6   O 6
                                                                                                                   Foreien Country
IV. NATURE OF SUIT (Place an "X" inOne Box Only)                                                                                                          Click here for: NaturejifSuitCodgJD^^
           CONTRACT                                                    TORTS                                       FORFEITURE/PENALTY                        BANKRUPTCY                            OTHER STATUTES
    110 Insurance                         PERSONAL INJURY                        PERSONAL INJURY               • 625 Dmg Related Seizure           a 422 Appeal 28 USC 158              •       375 False Claims Act
    120 Marine                       • 310 Airplane                      • 365 Personal Injury -                     of Property21 USC 881         •   423 Withdrawal                   • 376QuiTam(31 USC
    130 Miller Act                   0 315 Airplane Product                    Product Liability               O 690 Other                                   28 USC 157                             3729(a))
    140 Negotiable Insnument               Liabili^                      •       367 Health Care/                                                                                       • 400 State Reapportionment
    150Recoveryof Oveipayment        • 320 Assault, Libel &                         Pharmaceutical                                                     PROPERTY RIGHTS                  •       410 Antittust
       & Enforcement ofJudgment                Slander                              Personal Injury                                                O 820 Copyrights                     • 430 Banks and Backing
    151 Medicare Act                 • 330 Federal Employers'                       Product Liability                                              •   830 Patent                       •       450 Commerce
    152 Recovery ofDefaulted               Liability                     •       368 Asbestos Personal                                             •   835 Patent • Abbreviated         • 460 Deportation
        Student Loans                O 340 Marine                                    Injury Product                                                          New Drug Application       •       470 Racketeer Influenced and
        (Excludes Veterans)          • 345 Marine Product                            Liability                                                     •   840 Trademark                                Corrupt Organizations
    153 Recovery ofOverpayment                 Liability                  PERSONAL PROPERTY                                  labor                     SOCIAL SECURITY                  • 480 Consumer Credit
        ofVeteran's Benefits         •    350 Motor Vehicle              • 370 Other Fraud  •                      7)0 Fair Labor Standards        • 861 HIA (139511)                   O 490 Cable/Sat TV
    160 Stockholders' Suits          •    355 Motor Vehicle              • 371 Truth in Lending                        Act                         • 862 Black Lung (923)               • 850 Securities/Commodities/
    190 Other Contract                         Product Liability         •       380 Other Personal            O 720 Labor/Management              O 863 DIWC/DIWW(405(g))                    Exchange
    195 Contract Product Liability   •    360 Other Personal                  Property Damage                          Relations                   •   864 SSID Title XVI               • 890 Other Statutoiy Actions
    196 Francliise                         Injury                        • 385 Property Damage                 • 740 Railway Labor Act             • 865 RSI (405(g))                   O 891 AgriculturalActs
                                     • 362 PersonalInjury-                    ProductLiabili^                  • 751 Familyand Medical                                                  • 893 Environmental Matters
                                               Medical Malpractice                                                     Leave Act                                                        O 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                      PRISONER PETITIONS                • 790 Other LaborLitigation             FEDERAL TAX SUITS                            Act
•   210 Land Condemnation            •    440 Other Civil Rights                 Habeas Corpus:                O 791 Employee Retirement           • 870 Taxes (U.S. Plaintiff             O 896 Arbitration
•   220 Foreclosure                  •    441 Voting                     •       463 Alien Detainee                  Income Security Act                 or Defendant)                  •       899 Administrative Procedure
• 230 Rent Lease & Ejectment         •    442 Employment                 D 510 Motions to Vacate                                                   O 871 IRS—ThirdPar^                        Act/Review or Appeal of
•   240 Torts to Land                •    443 Housmg/                         Sentence                                                                       26 USC 7609                     Agency Decision
D 245 Tort Product Liability                  Accommodations             • 530 General                                                                                                  • 950 Constitutionality of
• 290 All Other Real Proper^         •    445 Amer. w/Disabilities'      •       535 Death Penalty                     IMMIGRATION                                                                  State Stamtcs
                                               Employment                        Other;                        • 462Naturalization Application
                                     •    446 Amer. w/Disabilities'      •       540 Mandamus & Other          • 465 Other Immigration
                                              Other                      ^ 550 Civil Riglrts                           Actions
                                     •    448 Education                  •       555 Prison Condition
                                                                         •       560 Civil Detainee •
                                                                                     Conditions of
                                                                                     Confinement

V, ORIGIN (Place an "X"inOneBox Only)
&] Original     • 2 Removed firom                           •      3     Remanded from                  •    4 Reinstated or           S Transferred from          •    6   Multidistrict             •   8 Multidistrict
    Proceeding       State Cotnt                                         Appellate Court                       Reopened                  Another District                   Litigation -                       Litigation -
                                                                                                                       (specify)                      Transfer                                                 Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do notcitejurisdictional statutesunlessdiversity):
                                                                                                                                                                                            w
                                                                             ^                       C,V,\                                                     u-s.c.^
VI. CAUSE OF ACTION Briefdescription ofcause:


VII, REQUESTED IN                          O     CHECK IF THIS IS A CLASS ACTION                                   DEMANDS                                     CHECK YES only ifdemanded in complaint:
        COMPLAINT;                               UNDER RULE 23,F.R.CV.P.                                              OOP V OOP                                JURY DEMAND:                      X^Yes              ONo
Vm. RELATED CASE(S)
         IF ANY                                     instructions):       JUDGE                                                                         DOCKET NUMBER

DATE                                                                             SIGNATURE OF ATTORNEY OF RE^RD                           p             //                        \V
                                                                                                                                                                            S-P        ^\^1>010Sp^
FOR OFnCE USE ONLY
FOR OFnCE USE ONLY                   '                                    ^
    RECEIPT#                     AMOUNT                                             APPLYING IFP                                       JUDGE                                MAG. JUDGE
                             Case 6:18-cv-06932-CJS-MJP Document 1 Filed 12/20/18 Page 16 of 16

JS 44 Reverse (Rev. 06/17)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
requiredby law, except as providedby localrules of court. This form, approvedby the JudicialConferenceof the UnitedStatesin September 1974,is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) ofplaintiff and defendant. If the plaintii^ or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract ofland involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney ofrecord. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

m.       Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one ofthe seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed fram State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstatedor Reopened. (4) Checkthis box for cases reinstated or reopened in the district court. Use the reopeningdate as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district imder authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief descriptionof the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 BriefDescription: Unauthorized reception of cable service

VII.     Requested in Complaint Class Action. Place an "X" in this box ifyou are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Vin. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
